                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:12-00013
                                                  )           JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                       )

                                              ORDER

       Pending before the Court are the following motions filed by previous counsel for

Defendant Vichitvongsa: Motion In Limine To Exclude Evidence Of Prior Arrests And

Convictions (Docket No. 302); First Motion In Limine To Exclude Evidence Of Past Or Present

Gang Membership (Docket No. 303); Joint Motion In Limine For Additional Peremptory

Challenges (Docket No. 306); and Motion To Exclude Government Expert Reports And, In The

Alternative, Request For Daubert Hearing (Docket No. 307). Defendant’s current counsel has

filed a Notice Of Intent (Docket No. 506) indicating that the Defendant adopts the Motion In

Limine To Exclude Evidence Of Prior Arrests And Convictions (Docket No. 302); First Motion

In Limine To Exclude Evidence Of Past Or Present Gang Membership (Docket No. 303); and

Motion To Exclude Government Expert Reports And, In The Alternative, Request For Daubert

Hearing (Docket No. 307).

       Through the Motion In Limine To Exclude Evidence Of Prior Arrests And Convictions

(Docket No. 302), the Defendant seeks to exclude all of his prior arrests, juvenile convictions

and adult convictions from admission at the trial. In its Response (Docket No. 346), the

Government indicates that if the Defendant elects to testify at trial, it will seek to impeach him,

pursuant to Fed. R. Evid. 609, with his December 2008 conviction for aggravated burglary in

Davidson County, Tennessee; and his October 2012 federal conviction for being a felon in



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possession of a firearm. The parties dispute whether the convictions are more prejudicial than

probative under Fed. R. Evid. 609(a)(1). This Motion is RESERVED for decision and will be

ruled upon if Defendant Vichitvongsa exercises his right to testify at trial.

       Through the First Motion In Limine To Exclude Evidence Of Past Or Present Gang

Membership (Docket No. 303), the Defendant seeks to prohibit the Government from

introducing any evidence of the Defendant’s past or current gang membership. In its Response

(Docket No. 347), the Government indicates that it does not intend to introduce evidence of gang

membership in its case-in-chief, and does not otherwise intend to introduce such evidence unless

the Defendant opens the door to such evidence. The Motion is DENIED as moot, based on the

Government’s response. The Government shall provide notice to the Court and the Defendant

prior to the introduction of such evidence at trial.

       Through the Motion To Exclude Government Expert Reports And, In The Alternative,

Request For Daubert Hearing (Docket No. 307), the Defendant seeks to exclude the

Government’s expert reports on ballistics, serology, and shoe print identification, and requests a

hearing to determine the admissibility of such evidence based on Daubert v. Merrell Dow

Pharmaceuticals, 509 U.S. 579 (1993). In its Response (Docket No. 355), the Government

indicates that it does not intend to introduce the serology or shoe print identification expert

reports in its case-in-chief absent additional comparison testing. Accordingly, the request to

exclude the serology and shoe print identification expert reports is DENIED as moot, based on

the Government’s response. The Government shall provide notice to the Court and the

Defendant prior to the introduction of such evidence at trial.

       As for the ballistics expert report, prepared by TBI Scientist Shelly Betts, the


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Government indicates that it intends to introduce the report in is case-in-chief through the

testimony of a qualified opinion witness. The Government argues that the evidence is admissible,

and that a pre-trial hearing to determine admissibility is unnecessary.

       The Court notes that the use of ballistics experts linking spent bullets and cartridge

casings to particular firearms has been upheld to Daubert challenges. See, e.g., United States v.

Williams, 506 F.3d 151, 157-62 (2nd Cir. 2007). This Motion is RESERVED pending trial. The

Defendant shall raise any objection to the qualifications and foundation for the offered testimony

when the expert is offered by the Government, and if requested and necessary, the Court will

hold a jury-out hearing to determine admissibility.

       As to the Defendant’s contention that he should be provided access to the data underlying

the testing, the Government indicates that it has been willing to coordinate such testing and will

work with the defense to accommodate the request. The parties shall file a Notice with the Court

on or before August 12, 2013 indicating whether they have been able to coordinate the testing

requested by the Defendant.

       It is so ORDERED.


                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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